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            Case: 3:25-cv-00021-TMR-PBS Doc #: 1-3 Filed: 01/22/25 Page: 1 of 1 PAGEID #: 14
                                                   COURT OF COMMON PLEAS,
                                                       Clark County, Ohio

     State of Ohio                                                                          Case No.       24 CR0278
     Plaintiff,
         VS.                                                                                Honorable Judge Douglas Rastatter
     William J. Brock
     Defendant,                                                                             This subpoena was issued upon application of the:
                                                                                             0 Plaintiff @\ Defendant        O Prosecution
     Date of Hearing:



                                         RETURN OF SERVICE ON SUBPOENA
     I received a Subpoena for Federal Bureau oflnvestigation                                             , a named witness for the
                                         -------------------
     Address: 200 W. 2nd Street, #811                                             City: Dayton                   '\State Ohio
     Zip Code 45402
              - - - - Defense Plaintiff Prosecution (circle one), on (Date received)                        Cf6 -~~la1

     I served the Subpoena on the said witness, and made the following service on (Date of servic~) (3 [ , ~                            y'
                                                                         Type of Service:
             (~) Personal       O Failure O Residential         O E-mail O Attorney O Certified Mail O Process Server 0 She,iffy


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                                                      RETURN OF SERVICE FEES
                                                   Service and Return:       $
               AUG 23 2024
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     Agency

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